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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA



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                                            )
     Rodney Lail, et al.,                   )
                                            )
           Plaintiffs,                      )
                                            )    C.A. No. 10-CV-210-PLF
                  v.                        )
                                            )
     United States Government, et al.,      )
                                            )
                                            )
           Defendants.                      )
                                            )
                                            )
                                            )


       PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
 DEFENDANT ACADEMY GROUP INC’S MOTION TO DISMISS OR IN
    THE ALTERNATIVE MOTION FOR SUMMARY JUDGMENT
                    (DOCUMENT No. 50)


     Pro Se plaintiffs in the above caption case hereby file their brief in

Opposition to the Defendant Academy Group Inc.’s Motion to Dismiss or in the

Alternative Motion for Summary Judgment (Document No. 50).




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   I. Statement of Facts.


      The Defendants’ Motion to Dismiss (Document No. 50) is predicated in

large part on their claims that there was no business relationship between Noel

Herold and the Academy Group, Inc., and the only official relationship the

Academy Group had with Noel Herold was through “Vaudeo Forensics of

Manassas, Va.” from 1998 – 2003 (Document No. 50, Pg. 15, Lines 15 &16).

      However, Noel Herold testified under oath in his Discovery Deposition on

March 9, 2007, that “The only affiliation I have officially is with the Academy

Group, which are retired behavioral science agents.” (See Exhibit One, attached

hereto, Discovery Deposition, March 9, 2007, Pg. 12, Lines 9 – 11).

      There is no listing of a “Vaudeo Forensics of Manassas, Va., as maintaining

the required license(s) to do business in the state of Virginia from 1998 to 2007,

that the Pro Se Plaintiffs could locate through the applicable Virginia licensing

agencies where such listing was required to have been made under law (See

Exhibit Two, attached hereto).

      In this particular case Noel Herold services in question was paid for by funds

from the United States Government. (See Plaintiffs’ Complaint ¶ 122.) The

circumstances of how the funds were received by Noel Herold through what

business arrangement is now unclear.      According to filings in this Court on

September 17, 2010, and September 24, 2010, The United States Attorney claims
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Noel Herold was a direct employee of the United States Government during the

applicable period of times during the matters under litigation in this Court and as

such he is being represented by the United States Attorney Kenneth Adebonojo

(See Documents No. 53 & No. 56).

      Noel Herold testified numerous times under oath he retired from the FBI in

1996 (As an example, see Exhibit Two attached hereto, March 9, 2007,

Discovery Deposition, Page 13, Lines 8 & 9).

      In the intelligence community it is standard practice to use “cutouts” to

disguise employment relationships and it is imperative to have discovery to

uncover the actual relationship to determine responsibility for the tort acts

committed against the Pro Se Plaintiffs.


II. Pro Se Plaintiffs have a Right to Their Day in Court to Determine
the responsibility of the torts Committed against them.

      The United States Supreme Court determined that the Plaintiffs have

a right through the Courts to determine the defendants responsible for the

various tort damages suffered by the Plaintiffs, in Price Waterhouse v.

Hopkins the Supreme Court ruled”

       “…in the area of tort liability, from whence the dissent's "but-
       for" standard of causation is derived, see post, at 282, the law has
       long recognized that in certain "civil cases" leaving the burden of
       persuasion on the plaintiff to prove "but-for" causation would be
       both unfair and destructive of the deterrent purposes embodied in
       the concept of duty of care. Thus, in multiple causation cases,
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        where a breach of duty has been established, the common law of
        torts has long shifted the burden of proof to multiple defendants
        to prove that their negligent actions were not the "but-for" cause
        of the plaintiff's injury. See e. g., Summers v. Tice, 33 Cal. 2d
        80, 84-87, 199 P. 2d 1, 3-4 (1948). The same rule has been
        applied where the effect of a defendant's tortious conduct
        combines with a force of unknown or innocent origin to produce
        the harm to the plaintiff. See Kingston v. Chicago & N. W. R.
        Co., 191 Wis. 610, 616, 211 N. W. 913, 915 (1927) ("Granting
        that the union of that fire [caused by defendant's [*264]
         [**1798] negligence] with another of natural origin, or with
        another of much greater proportions, is available as a defense,
        the burden is on the defendant to show that . . . the fire set by
        him was not the proximate cause of the damage"). See also 2 J.
        Wigmore, Select Cases on the Law of Torts § 153, p. 865 (1912)
        ("When two or more persons by their acts are possibly the sole
        cause of a harm, or when two or more acts of the same person
        are possibly the sole cause, and the plaintiff has introduced
        evidence that one of the two persons, or one of the same person's
        two acts, is culpable, then the defendant has the burden of
        proving that the other person, or his other act, was the sole cause
        of                           the                           harm").”

        Price Waterhouse v. Hopkins, 490 U.S. 228, 263-264 (U.S.
        1989)


      In the case before this Court the Pro Se Plaintiffs suffered various serious

tort damages and it would be both inequitable and unconscionable to allow the

Academy Group, Inc., released from the case without proper discovery being

conducted by the Pro Se Plaintiffs and the findings of such discovery be used to

lawfully bring the defendants to justice in this Court.

      There are clearly to many conflicting statements under oath to determine the

extent of a particular defendants role without discovery and AGI’s role is already
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suspect as they have admitted in this Court to have conducted business with an

entity that does not lawfully exist and with an individual whose credentials are

clearly falsified. It would of course be in the best interests of AGI to keep covered

up the relationship already testified to exist by Noel Herold in a sworn deposition.

The existence and nature of such an agreement with various defendants the nature

of which cannot be clearly defined until a proper discovery is conducted.

   II. Response to Document No. 50, Citations of Law

         Pro Se Plaintiffs set forth that it is premature to argue points of law raised

by Defendant AGI beyond that of moving forward in discovery as until such

discovery is conducted to determine (1) the exact role of AGI in the various tort

acts, (2) the actions of personnel with AGI in the tort acts is determined, and (3)

the extent of the role that AGI and other Defendants including the FBI and Noel

Herold acted together in these matters (which at some point entailed a business

relationship the legitimacy of which is already thought to be very questionable

according to laws of the State of Virginia based on AGI’s own admissions in

Document No. 50). Arguing without discovery the various roles that AGI acted in

is an exercise of futility and as such is an attempt to have the Court prematurely

make rulings without the allowance of the necessary process of discovery the

Plaintiffs need to properly respond. In their arguments in Document No. 50, AGI

makes statements such as there was no business relationship, and then expects this


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